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                                                              FILED
 1   Susan Lloyd
                                                                May 31 2022
 2 929 E Main St #101
                                                               Mark B. Busby
 3 Mt Joy, PA 17552                                      CLERK, U.S. DISTRICT COURT
                                                      NORTHERN DISTRICT OF CALIFORNIA
     213 321 9999                                             SAN FRANCISCO
     domino7575@yahoo.com

             Plaintiff

                                 UNITED STATES DISTRICT COURT
 8

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                        SAN FRANCISCO DIVISION
ll   Susan Lloyd,
12                Plaintiff                                Case No
13
     V                                                     Judge   Che V)
14
     Facebook, Inc.                                        FIRST AMENDED COMPLAINT
15
     1601 Willow Rd                                        DEMAND FOR JURY TRAIL
16
17 Menlo Park, CA 94025
18 AND
19 Meta Platforms, Inc
20 1601 Willow Rd
21
     Menlo Park, CA 94025
22
     AND
23
     Mark Zuckerberg
24
25 1601 Willow Rd
26 Menlo Park, CA 94025
27                   ·u   t_,� IA;) <-' �\-�

28
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 1   LLOYDS FIRST AMENDED COMPLAINT FOR ADA VIOLATIONS, VIOLATIONS OF

 2 SECTION 508 OF THE REHABILITATION ACT OF 1973, VIOLATIONS OF UNRUH

 3 ACT, FRAUD AND INTENTIONAL MISREPRESENTATION, VIOLATIONS OF

     CALIFORNIA CONSTITUTION ARTICLE 1, SECTION 1 AND DATA PROTECTION

     ACT VIOLATIONS, INVASION OF PRIVACY, BREACH OF CONTRACT,
 6
     NEGLIGENCE AND NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
 7
 8   JURISDICTION

 9 1.Plaintiff claims Federal jurisdiction pursuant to Article III 2

10 which extends the Jurisdiction to cases arising under the US
ll   Constitution. US Constitution and Federal laws were violated and
12
     the amount in controversy exceeds 75,000.00. Under 28 USC 1332,
13
     federal courts may hear cases in which a Citizen of one state sues
14
     a citizen of another state and the amount at stake is more than
15
     75,000.00. In that kind of case, no Defendant may be a citizen of
16
17 the same state as any Plaintiff which is the case here.
18   2. This court has subject matter jurisdiction over this action

19 pursuant to 28 USC 1331 and 1343 (a) (4) . The court has personal

20   jurisdiction over Defendants because their principal place of
21
     business or residence is in California and they conduct and
22
     continue to conduct a substantial and significant amount of
23
     business in California.
24
25 VENUE
26 3. Venue is proper in California pursuant to 28USC1391 (b) (1) as
27 this court has personal jurisdiction over the Defendants.

28 INTRADISTRICT ASSIGNMENT

                                         -2-
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 1 4. This lawsuit should be assigned to the San Francisco Division

 2 because the Defendants principal place of business is in this
 3 Division.

 4
     PARTIES
 5
     5. Plaintiff Susan Lloyd is a Pennsylvania resident who is a
 6
     protected class who has been disabled under the ADA since 2006.
 7
     6. Defendant Facebook Inc is an online social media and social
 8
 9 networking service owned by Meta Platforms.

10 7.    Defendant Meta Platforms Inc is formerly known as Facebook and
1 1 is a multinational technology conglomerate. They are the parent

12
     organization of Facebook, Instagram and other subsidiaries.
13
     8. Defendant Mark Zuckerberg is the cofounder of Meta Platforms,
14
     formerly known as Facebook,      and serves as its chairman, chief
15
     executive officer and controlling shareholder. He launched
16

17 Facebook on February 4, 2004.

18 FACTS
19 9. Defendants maintain a website called          "Facebook" which they use
20 to make money through third party ads.         They illegally track users
21
     even when the user is logged off of Facebook. They also are not
22
     accessible under the ADA, Rehab Act and the Unruh Act.          They also
23
     have a long history of not abiding by their own Rules which have
24
     allowed many people including Lloyd to be abused and threatened by
25

26 other users on Facebook including threats to rape and murder
27 Lloyd.      Any attempt to resolve this conflict by other means

28 including reporting these other users         have failed.    Defendants

                                         -3-
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 1 have allowed this to occur for 5 plus years now on a continued

 2 repeated basis. Defendants refuse to abide by their own Rules or
 3   any other federal or state law causing Lloyd to fear for her
 4
     safety and suffer over 100,000.00 in injuries.
 5
     CAUSES OF ACTION
 6
      I. VIOLATION OF AMERICANS WITH DISABILITIES ACT
 7
          Lloyd states the following and includes but not limited to
 8
 9 all of the above:

10 10.    Under the ADA, websites must be accessible to users with
1 1 disabilities. Since 2018, websites accessibility lawsuits have

12
     made up 1/5 of all ADA Title 3 claims as per americanbar.org.
13
     Title 3 recognizes websites as places of public accommodation.
14
     Defendants own, lease or operate Facebook/Meta which Is a place of
15
     public accommodation and Plaintiff was denied public
16
17 accommodations due to her disability.         California also has state

18 law which requires websites to be accessible. Disabled people have
19 the right to equal access to the goods and services that fellow

20 citizens enjoy.      Defendants website is not accessible to anybody
21
     who has no arms, problems with vision, cannot be viewed in both
22
     landscape and portrait orientations, font cannot be made bigger,
23
     the color combinations are not high contrast enough to be used by
24
     individuals with vision impairments, text cannot be resized and/or
25
26 be readable when resized, form fields do not have visible labels,

27 users are not made aware of any incorrect, missing or errors

28 entered into fields, images, gifs or videos cannot be disabled to

                                         -4-
           Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 5 of 28




 1 prevent seizures, language tabs are not added, there is no

 2 accessibility statement, under display and accessibility there is

 3   only an option to do dark mode or to make font smaller there is no
 4
     other accessibility options.         All of this violates the ADA.
 5
     Plaintiff is a protected class under the ADA and has visual
 6
     problems due to many ada protected disabilities.
 7

 8
     11.     Furthermore, Defendants use ads and allow other third parties

 9 to advertise on their sites which discriminate against disabled

10 people such as housing which is not ADA accessible and does not
1 1 allow service dogs.

12
     12.     Defendants are responsible for any content on their site and
13
     they refuse to comply with the ADA.
14
     13.     Defendants also allow other users to harass disabled people
15
     and make fun of disabilities on their website.            Defendants refuse
16

17 to remove these posts even after they are reported stating they do
18 not violate their community standards so Defendants are stating it
19 is okay to harass and make fun of disabled people.

20 Defendants discrimination towards Lloyd was intentional.
21
     Defendants treated Lloyd differently because of her disability.
22
     Defendants apply its policies in a way that targets individuals
23
     with disabilities.       Lloyd began to encounter accessibility
24
     barriers with Facebook in 2020 when her health began to decline.
25
26   Lloyd is disabled under the ADA since 2006. Lloyd began to

27 experience problems using Facebook in 2020 as her health began to

28 decline.        Zuckerberg should be held liable under alter ego as CEO
                                            -5-
        Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 6 of 28




 1 of the company and he was personally involved and/or directed the

 2 challenged acts Lloyd states. Facebook also facilitated disability
 3 discrimination through targeted housing ads which violate civil
 4
     rights laws based on disability discrimination.
 5
     Therefore, Lloyd should be awarded damages for this cause of
 6
     action.
 7
     II.VIOLATIONS OF SECTION 508 OF THE REHABILITATION ACT OF 1973
 8
 9 AGAINST ALL DEFENDANTS

10 Lloyd repeats the above and includes but not limited to the
1 1 following:

12
     14. Under the Rehab Act, websites must be accessible to users with
13
     disabilities.   California also has state law which requires
14
     websites to be accessible. Disabled people have the right to equal
15
     access to the goods and services that fellow citizens enjoy.
16

17   15. Defendants website is not accessible to anybody who has no

18   arms, problems with vision, problems with hearing, cannot be

19 viewed in both landscape and portrait orientations, font cannot be

20 made bigger, the color combinations are not high contrast enough

21
     to be used by individuals with vision impairments, text cannot be
22
     resized and/or be readable when resized, form fields do not have
23
     visible labels, users are not made aware of any incorrect, missing
24
     or errors entered into fields, images, gifs or videos cannot be
25
26 disabled to prevent seizures, language tabs are not added, there

27 is no accessibility statement, under display and accessibility

28 there is only an option to do dark mode or to make font smaller

                                          -6-
                       INSERT DOCUMENT TITLE (e.g., MOTION TO STRJKE)
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         Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 7 of 28




 1 there is no other accessibility options.           All of this violates the

 2 Rehab Act.

 3 16.     Furthermore, Defendants use ads and allow other third parties
 4
     to advertise on their sites which discriminate against disabled

     people such as housing which is not ADA accessible and does not
 6
     allow service dogs and violates the Rehab Act.

     17.   Defendants are responsible for any content on their site and
 8
 9 they refuse to comply with the ADA and violates the Rehab Act.

10 18.     Defendants also allow other users to harass disabled people
11 and make fun of disabilities on their website.           Defendants refuse
12
     to remove these posts even after they are reported stating they do
13
     not violate their community standards so Defendants are stating it
14
     is okay to harass and make fun of disabled people.
15
     Lloyd began to have issues using Facebook when her health began to
16

17 decline in 2020.       Lloyd has severe vision issues and is protected

18 under the ADA.      Defendants website is not accessible to people

19 with vision issues as described above.          Defendants acted with
20 discriminatory intent towards Lloyd and treated Lloyd differently

21
     due to her disability.      Defendants apply its policies in a way
22
     that targets people with disabilities.        Defendnats own, lease
23
     and/or operate Meta/Facebook, a place of public accommodation.         A
24
     website is considered a place of public accommodation under Title
25
26 3. Lloyd was denied a place of public accommodation by Defendants

27 not having their website accessible. Zuckerberg is liable under

28

                                          -7-
           Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 8 of 28




 1 alter ego as CEO of the company and is personally involved and/or

 2 directed the challenged acts cited by lloyd.
 3   Therefore, Lloyd should be awarded damages for this cause of
 4
     action.
 5
     III. VIOLATIONS OF CALIFORNIA UNRUH ACT
 6
             Lloyd repeats the above and includes but not limited to the
 7
     following:
 8
 9 19. California Unruh Act states that all persons are free and

10 equal and no matter what their disability is they are entitled to
1 1 full and equal accommodations, advantages, facilities, privileges,

12
     or services in all business establishments of any kind.
13
     20.     By not having their website ADA accessible, Defendants
14
     violated the Unruh Act.         Defendants acted with discriminatory
15
     intent as stated above.         Defendants treated Lloyd differently
16
17 because of her disability.            Defendants apply its policies in a way

18 that targets individuals with disabilities.                   Lloyd began to

19 encounter barrier issues with Facebook in 2020 when her health

20 began to decline.         Lloyd has protected disabilities under Federal
21
     Law including but not limited to vision issues.                  Defendants
22
     website is not accessible to people with poor vision.                  Lloyd is
23
     protected under the ADA since 2006.                Defendants own, operate
24
     and/or lease a place of public accommodation and Lloyd was denied
25
26 public accommodation due to her disability.                   Under Title 3, a

27 website is a place of public accommodation.                   Zuckerberg should be
28

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                          INSER-T DOCUMENT TITLE (e.g., MOTION TO STRlKE)
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       Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 9 of 28




 1 held liable under alter ego of the company as he was personally

 2 involved and/or directed the challenged acts Lloyd states.
3    Lloyd is entitled to damages for this claim.
4
     IV. FRAUD AND INTENTIONAL MISREPRESENTATION
5
     Lloyd repeats all of the above and includes but not limited to the
 6
     following
 7
     21.   Fraud under california law occurs when a Defendant
 8
9 represented to another a fact that was not true, the

10 representation was actually false, the Defendant knew the
1 1 representation was false, the Defendant intended the other person

12 to rely on the representation, the other person did rely on the

13
     representation, the other person was harmed by the reliance, the
14
     Plaintiffs reliance was a substantial factor in the harm
15
     suffered.
16
17 22.     Facebook Statement of Rights and Responsibilities, states

18 that Facebook enables people to connect with each other, build

19 communities and grow businesses.                    In order to use Facebook, you
20 must use the same name that you use in everyday life, create only

21
     one account, not share your password, give access to your facebook
22
     account to others or transfer your account to anyone else.                           You
23
     are not allowed to share content that is at the expense of safety
24
     and well being of others or the integrity of the community. You
25
26 may not violate the Community Standards.                       You may not post

27 information that is unlawful, misleading, discriminatory, or
28 fraudulent or that infringes on someone elses rights. Facebook

                                         -9-
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 1 states they take seriously their role in keeping abuse off of

 2 their service. Facebook states they are committed to making
 3   facebook a safe place and expression that threatens people has the
 4
     potential to intimidate, exclude or silence others and is not
 5
     allowed.    Facebook also states they are committed to protecting
 6
     privacy and information. Facebook also states that people will
 7
     respect the dignity of others and not harass or degrade others.
 8
 9   Facebook also states they can disable accounts and contact law

10 enforcement when there is a risk of physical harm or personal
11 safety. They also state they do not allow organizations or

12
     individuals that proclaim a violent mission to have presence on
13
     Facebook.   They also regulate the sell of firearms on their site.
14
     They also will remove any content that depicts, threatens or
15
     promotes sexual violence, sexual assault or sexual exploitation.
16

17 They also state they remove content thats meant to degrade, shame,
18 bully or harass private individuals.                They also state they will

19 not allow others to post personal or confidential information

20 about yourself or others.          They will remove content that shares,
21
     offers or solicits personally identifiable information. They will
22
     also not allow hate speech among other things.
23
     23.   All of the above is fraudulent and intentional
24
     misrepresentation by the Defendants. Facebook has allowed since
25

26 2016 for over 500 people to harass and bully Lloyd on Facebook,

27 led by Joshua Thornsbery.          Many of these people do not use their

28 real names such as Robin White who goes by Harley Angel.                   They

                                              - 10 -
                       INSERT DOS,,UMEl'F T�TLE (e.�., f'10T�m� TOJTRIKEl,,
       Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 11 of 28




 1 also create multiple accounts, share their passwords and have

 2 testified that they give access to other people for their
 3   accounts.   They share content to threaten Lloyd.       They post about
 4
     illegal drugs they use and they post about firearms they are
 5
     attempting to purchase.     They have threatened to rape and murder
 6
     Lloyd for over five years and each time they have been reported,
 7
 8   Lloyd and others were told it does not violate community

 9 standards.     They have threatened on Facebook to shoot Lloyd in the

10 chest with a gun, choke Lloyd to death, blow up Lloyds house, they
1 1 post Lloyds picture and Lloyds address.        They brag about
12
     hallucinating from drug use.     They post pictures of guns and state
13
     Lloyd will be in a cemetery.     They organize through facebook
14
     events so they could come to Lloyds house and further harass
15
     Lloyd.   Thornsbery admits to organizing over 500 of his facebook
16

17 friends to threaten to harass Lloyd for over a 5 year period.
18 Thornsbery admits that he uses Facebook to threaten Lloyd.            They

19 use Facebook to make fun of Lloyds ADA protected disabilities such

20 as Lloyds scooter and oxygen.       They also use Facebook to body
21
     shame Lloyd and make fun of Lloyds weight gain.        They also state
22
     they will get the Hells Angels to harass Lloyd and post pictures
23
     of themselves at the Hells Angels events for Portage County Ohio.
24
     The Department of Justice on April 29, 2021 states Outlaw
25

26 Motorcycle Gangs (OMGs) are organizations whose members use their

27 motorcycle clubs as conduits for criminal enterprises.           OMGs are
28 highly structured criminal organizations whose members engage in

                                         - 11 -
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 1 criminal activities such as violent crime, weapons trafficking,

 2 and drug trafficking.      There are more than 300 active OMGs within
 3 the United States, ranging in size from single chapters with five
 4
     or six members to hundreds of chapters with thousands of members
 5
     worldwide.   The Hells Angels, Mongols, Bandidos, Outlaws, and Sons
 6
     of Silence pose a serious national domestic threat and conduct the
 7
     majority of criminal activity linked to OMGs, especially activity
 8
 9 relating to drug-trafficking and, more specifically, to cross-

10 border drug smuggling. Because of their transnational scope, these
1 1 OMGs are able to coordinate drug smuggling operations in

12
     partnership with major international drug-trafficking
13
     organizations (DTOs) .
14
     And yet, Facebook allows the Hells Angels to have pages on their
15
     site where they can organize and have gatherings.         Mr Thornsbery
16
17 and over 500 of his friends belong to many motorcycle gangs
18 including the Hells Angels.       They threaten to have the Hells

19 Angels murder Lloyd.

20 Besides threatening to murder Lloyd, they also allow Thornsebry

21
     and over 500 of his friends to threaten to rape Lloyd on their
22
     site. They allow them to also post where Lloyd is so others can
23
     show up and harass Lloyd such as Staci Dalton Liddle who posted
24
     that Lloyd was at Streetsboro Ohio library. They allow Thornsbery
25
26 and his friends to post Lloyds picture, Lloyds address, pictures

27 of Lloyds property among many other things so others know where

28 Lloyd lives so they can also harass Lloyd.          They even post that

                                         - 12 -
       Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 13 of 28




 1 they will sit in front of Lloyds house to harass Lloyd.                                 This has

 2 gone on for 5 years and Defendants refuse to ban these 500 people
 3 from their sites and they allow this behavior to continue towards
4
     Lloyd, a disabled person.       They even allow them to brag on
 5
     Facebook that they pissed on Lloyds fence, damaged Lloyds fence,
 6
     blow cigarette smoke at Lloyd while she is on oxygen, post
 7
     pictures of Lloyds cameras and state how they can get around
 8
9 Lloyds security system and how they can use signal jammers to

10 block Lloyds cameras which they did, forcing Lloyd to reinstall
1 1 wired cameras.    They even brag on Facebook about having large
12
     massive illegal fires which were determined to be illegal by the
13
     EPA and they do this to harass Lloyd knowing Lloyd has breathing
14
     troubles.   They even state they will all go to Thornsberys to
15
     maliciously and purposefully harass Lloyd.                    They even talk about
16
17 other ways they can murder and injure Lloyd.                        They brag about

18 revving up motorcycles in the middle of the night to harass Lloyd

19 and they brag about other ways they can injure Lloyd on Facebook.

20 There is hundreds if not thousands of posts all dedicated to Lloyd

21
     and how they will injure, murder and harass Lloyd.                             It is truly
22
     frightening and the majority of these people have severe criminal
23
     records including Thornsbery who stated he will choke Lloyd to
24
     death on Facebook.    He has a 20 year history of throwing a woman
25
26 to the ground twice, punching holes in his mothers walls and other

27 violent crimes and yet Defendants allow him to organize well over

28 500 people and counting to threaten to rape and murder Lloyd,

                                              - 13 -
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 1 bully and harass Lloyd since 2016.                         Thornsbery admits to owning

 2 over 50 deadly weapons and admits to organizing these people to
 3 harass and threaten Lloyd and admits this is ongoing through
 4
     Facebook.
 5
     24.   As    a direct result of the Defendants allowing this to
 6
     continue for 5 plus years, Lloyd fears for her safety and has fled
 7
                            Thornsbery however, admits to hacking into
 8 the State of Ohio.
9 Lloyds Facebook page and found out Lloyd is residing in the state

10 of Pennsylvania where he admits to still having well over 500 of
1 1 his friends organized through Facebook to harass Lloyd.

12
      25. It is clear Defendants represented to Lloyd a fact that was
13
     not true, the representation was actually false, the Defendant
14
     knew the representation was false, Defendants intended Lloyd to
15
     rely on the representation, Lloyd did rely on the representation,
16
17 Lloyd was harmed by the reliance, Lloyds reliance was a
18 substantial factor in the harm suffered.

19 26.     These posts by Thornsbery and over 500 of his friends
20 directed towards Lloyd has been reported hundreds of times over
21
     the past 5 years via Facebook and certified letters with copies of
22
     the posts mailed to Facebook.           Defendants violate their own
23
     Regulations by allowing this behavior to go on for 5 plus years
24
     after being made aware of this in 2016. Since Defendants have
25

26 refused to stop this behavior, Thornsbery and others have been

27 able to recruit even more people to threaten Lloyd through the use
28 of Facebook.       They even organize others to gang stalk Lloyd
                                                 -   14   -
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 1 through the use of Facebook who state they will sit outside Lloyds

 2 house and watch Lloyd.

 3 Defendants intended to commit fraud.            Any reasonable person would
4
     rely on Defendants statements and/or representations.          As a
5
     reasonable person, Lloyd relied on Defendants statements and/or
6
     representations and this reliance caused her harm.          Defendants
7
     allow this to occur for one reason only.          They make money off of
8
9 the people threatening Lloyd by using their private information to

10 show them ads.
11
     Therefore, Lloyd is entitled to damages for this claim.
12
13 V.      VIOLATIONS OF CALIFORNIA CONSTITUTION ARTICLE 1, SECTION 1 AND

14 DATA PROTECTION ACT VIOLATIONS
15 Lloyd repeats all of the above and states the following which
l6 includes but not limited to

17
     27. California Constitution Article I, Section I states that each
18
     citizen has an inalienable right to pursue and obtain privacy.             It
19
     is even a crime in California to access and without permission
20
     use, misuse, abuse, damage, contaminate, disrupt or destroy a
21
22 computer.      California law also requires a business to notify any

23   person whose information was acquired by an unauthorized person.

24 It is also illegal to record any telecommunications without

25 permission.

26
     28.    Lloyd never gave Facebook any permission to track her while
27
     she is on her computer or any other electronic device and not
28

                                          - 15 -
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 1 logged into Facebook.       Lloyd claims a legally protected privacy

 2 interest, Lloyd had a reasonable expectation of privacy and

 3 Defendants invaded Lloyds privacy.
 4
     29.   Facebook has no authority to track Lloyd on her computer or
 5
     electronic devices when she is not logged into Facebook. Lloyds
 6
     information when logged off Facebook is sensitive, and
 7
     confidential and relates to personal decisions or personal
 8
 9 activities.     Defendants have collected data on Lloyd which is

10 sensitive and confidential.         Lloyd had a reasonable expectation of
1 1 privacy when she is logged out of Facebook doing other personal

12
     things.   Defendants conduct constitutes egregious invasion of
13
     privacy and an egregious breach of social norms.              This disclosure
14
     of Lloyd private information would be offensive to any reasonable
15
     Person    As a result Facebook collected unlawful profits while
16
17 Lloyd suffered concrete and particularized harm. Defendants
18 publicized Lloyds private information such as her address and her

19 medical conditions and her picture on their website.                 Thornsbery
20 admits to this information being seen by over 500 people.                It was
21
     seen by a lot more- anybody on Facebook as Thornsbery private
22
     settings were set to public which means anybody on Facebook could
23
     see this information.     Lloyd made Defendants aware of this in
24
     reporting this via Facebook and via certified letter but
25

26 Defendants have allowed this to occur anyways in violation of
27 their own contracts where Defendants state they will protect the

28 privacy of Facebook users.         Defendants made certain that the
                                           - 16 -
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                                                i.1---  \ \    1      ol.
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 1 public could view Lloyds private information.           Defendants also use

 2 and other plug ins in order to track and save information about

 3 its users to 3rd party websites and then sell this information to

4
     advertisers. Facebook has settled multiple lawsuits in regards to
 5
     the same issues Lloyd is complaining about and yet refuses to
6
     settle the case with Lloyd.     Re: Internet Tracking Litigation, US
7
     District Court, Northern District California, No 12-md-02314.
8
9 Defendants violated Federal and State Privacy Laws along with

10 wiretapping laws by tracking Lloyd.            They unlawfully compiled
11   Lloyds user data including browsing history to sell to 3rd parties
12
     to target ads to Lloyd.     This disclosure would be offensive to any
13
     reasonable person under the same circumstances and Defendants have
14
     a lot of settled or pending cases against them for this very
15
     reason.   Facebook had to pay a 5 billion dollar fine in 2019 and
16
17 on Feb 15, 2022 was sued by the Texas Attorney General for these

18 very reasons.     Facebook allows users to threaten Lloyd for this

19 very reason.     They value profit over the safety of its users.           On
20   Feb 18, 2022, Facebook agreed to pay 90 million to settle Data
21
     Privacy Lawsuits in regards to these similar issues with other
22
     people.   Defendants   made public disclosures in regards to Lloyds
23
     private information.    These disclosures violated Lloyds privacy
24
     rights and/or defamed Lloyd in a false light.          The information
25
26 disclosed by Defendants was falsifying and/or violated Lloyds

27 right to privacy.      Any average person would consider the

28

                                         - 17 -
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 1 information offensive and any reasonable person would suffer loss
 2 of reputation, shame or danger.

 3   30.   Facebook continues to track Lloyd when she is not logged into
 4
     facebook and is using other third party sites such as Chewy.com,
 5
     Target. Com, etc.
 6
     31.   The minute Lloyd logs back into her Facebook account, ads
 7
     from these other third party sites immediately show up on Lloyds
 8
 9 facebook account.

10 32.     Lloyd never gave permission for this to occur and it is
1 1 illegal for Defendants to do this.

12
     Therefore, Lloyd should be awarded damages for this claim
13
     VI. INVASION OF PRIVACY
14
     Lloyd repeats all of the above and includes but not limited to the
15
     following
16

17 33. California Constitution Article I, Section I states that each
18 citizen has an inalienable right to pursue and obtain privacy.        It

19 is even a crime in California to access and without permission

20 use, misuse, abuse, damage, contaminate, disrupt or destroy a

21
     computer.   California law also requires a business to notify any
22
     person whose information was acquired by an unauthorized person.
23
     It is also illegal to record any telecommunications without
24
     permission.   Lloyd never gave Facebook any permission to track her
25
26 while she is on her computer or any other electronic device and

27 not logged into Facebook.       Lloyd claims a legally protected

28

                                         - 18 -
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 1 privacy interest, Lloyd had a reasonable expectation of privacy
 2 and Defendants invaded Lloyds privacy.

 3   34.   Facebook has no authority to track Lloyd on her computer or
 4
     electronic devices when she is not logged into Facebook. Lloyds
 5
     information when logged off Facebook is sensitive, and
 6
     confidential and relates to personal decisions or personal
 7
     activities.   Defendants have collected data on Lloyd which is
 8
 9 sensitive and confidential.       Lloyd had a reasonable expectation of

10 privacy when she is logged out of Facebook doing other personal
11 things.     Defendants conduct constitutes egregious invasion of
12
     privacy and an egregious breach of social norms.         This disclosure
13
     of Lloyd private information would be offensive to any reasonable
14
     person.   As a result Facebook collected unlawful profits while
15
     Lloyd suffered concrete and particularized harm. Defendants
16
17 publicized Lloyds private information such as her address and her
18 medical conditions and her picture on their website.           Thornsbery

19 admits to this information being seen by over 500 people.             It was
20 seen by a lot more- anybody on Facebook as Thornsbery private
21
     settings were set to public which means anybody on facebook could
22
     see this information.     Lloyd made Defendants aware of this in
23
     reporting this via Facebook and via certified letter but
24
     Defendants have allowed this to occur anyways in violation of
25
26 their own contracts where Defendants state they will protect the

27 privacy of Facebook users.       Defendants made certain that the
28 public could view Lloyds private information.          Defendants also use
                                         - 19 -
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 1 cookies and other plug ins in order to track and save information

 2 about its users to 3 rd party websites and then sell this

 3 information to advertisers. Facebook has settled multiple lawsuits
 4
     in regards to the same issues Lloyd is complaining about and yet
 5
     refuses to settle the case with Lloyd.       Re: Internet Tracking
 6
     Litigation, US District Court, Northern District California, No
 7
                    Defendants violated Federal and State Privacy Laws
 8 12-md-02314.
 9 along with wiretapping laws by tracking Lloyd.          They unlawfully

10 compiled Lloyds user data including browsing history to sell to 3 rd

1 1 parties to target ads to Lloyd.        This disclosure would be
12
     offensive to any reasonable person under the same circumstances
13
     and Defendants have a lot of settled or pending cases against them
14
     for this very reason.    Facebook had to pay a 5 billion dollar fine
15
     in 2019 and on Feb 15, 2022 was sued by the Texas Attorney General
16
17 for these very reasons.       Facebook allows users to threaten Lloyd

18 for this very reason.      They value profit over the safety of its

19 users.    On Feb 18, 2022, Facebook agreed to pay 90 million to
20 settle Data Privacy Lawsuits in regards to these similar issues
21
     with other people.    Defendants    made public disclosures in regards
22
     to Lloyds private information.      These disclosures violated Lloyds
23
     privacy rights and/or defamed Lloyd in a false light.         The
24
     information disclosed by Defendants was falsifying and/or violated
25
26 Lloyds right to privacy.       Any average person would consider the

27 information offensive and any reasonable person would suffer loss
28 of reputation, shame or danger.

                                         - 20 -
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 1

 2 35. A person is liable for constructive invasion of privacy when
 3 they capture, any type of visual image, sound recording or other

4
     physical impression of the Plaintiff engaging in a private,
5
     personal or familial activity, through the use of any device, when
6
     this could not have been achieved without a trespass unless the
7
8 device was used. A person who commits this act is liable for up to
9 three times the amount of any damages. A person who causes another

10 person to violate this provision is also liable for damages.
1 1 36.   Defendants have used an illegal device to track Lloyd on her
12
     computer and other electronic devices so they can make money off
13
     of ads they then show Lloyd on her Facebook page.         This illegal
14
     device is used when Lloyd is signed off of Facebook and is on
15
     other third party sites such as Chewy.com, Target.com, etc
16

17 37.    Defendants are also liable for third parties invasion of

18 privacy by allowing Thornsbery and over 500 of his Facebook

19 friends to post Lloyds address, post pictures of Lloyd, post

20 pictures of Lloyds property, post about Lloyds disabilities, post
21
     about Lloyds medical conditions including Lloyds scooter and
22
     oxygen, post Lloyds location, so others would threaten and harass
23
     Lloyd.   Defendants have known about this behavior since 2016 and
24
     refuse to stop it.
25
26 Therefore, Lloyd is entitled to damages for this claim.

27 VI. BREACH OF CONTRACT

28

                                         - 21 -
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 1        Lloyd repeats all of the above and includes but not limited

 2 to the following:

 3   38. Facebook Statement of Rights and Responsibilities, states that
4
     Facebook enables people to connect with each other, build
5
     communities and grow businesses.       In order to use Facebook, you
6
     must use the same name that you use in everyday life, create only
7
     one account, not share your password, give access to your facebook
 8
9 account to others or transfer your account to anyone else.             You

10 are not allowed to share content that is at the expense of safety
1 1 and well being of others or the integrity of the community. You

12
     may not violate the Community Standards.       You may not post
13
     information that is unlawful, misleading, discriminatory, or
14
     fraudulent or that infringes on someone elses rights. Facebook
15
     states they take seriously their role in keeping abuse off of
16

17 their service. Facebook states they are committed to making

18 facebook a safe place and expression that threatens people has the
19 potential to intimidate, exclude or silence others and is not

20 allowed.    Facebook also states they are committed to protecting
21
     privacy and information. Facebook also states that people will
22
     respect the dignity of others and not harass or degrade others.
23
     Facebook also states they can disable accounts and contact law
24
     enforcement when there is a risk of physical harm or personal
25

26 safety. They also state they do not allow organizations or

27 individuals that proclaim a violent mission to have presence on
28 Facebook.    They also regulate the sell of firearms on their site.
                                         - 22 -
       Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 23 of 28




 1   They also will remove any content that depicts, threatens or

 2 promotes sexual violence, sexual assault or sexual exploitation.
 3   They also state they remove content that is meant to degrade,
 4
     shame, bully or harass private individuals.        They also state they
 5
     will not allow others to post personal or confidential information
 6
     about yourself or others.     They will remove content that shares,
 7
     offers or solicits personally identifiable information. They will
 8
 9 also not allow hate speech among other things.

10   39.   Defendants refuse to abide by their own rules and
1 1 regulations. Even after being made aware of Violations by other

12
     third parties, Defendants refuse to take action for the past five
13
     years. The court of appeals for First District of Texas required 2
14
     Defendants to not only remove their own posts but 3 rd party
15
     comments after being sued.     Facebook refused to remove these same
16

17 comments that a court forced deletion of.         Section 230 does not

18 shield online companies from legal liability associated with a
19 third party user when these posts involve threats against

20 somebodys life and criminal activity. Facebook uses algorithms

21
     which attract Thornsbery and others to make these posts.
22
     Thornsbery and over 500 Of his friends threaten to murder and rape
23
     Lloyd on Facebook and brag about damaging Lloyds property and drug
24
     use and even brag about hallucinating from drug use.         They also
25

26 use Facebook to organize other people to threaten Lloyd including
27 the Hells Angels of which they are a member of.          Defendants have

28 allowed this to occur for over F IVE years all the while the State

                                        - 23 -
       Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 24 of 28




 1 of Ohio and other States are        passing House Bills to prevent other

 2 people from being harassed and threatened on Facebook.           Facebook
 3 is even aware that people under same situations as Lloyd have
 4
     committed suicide as a result of Defendants allowing this to go
 5
     on, but they continue anyways. In fact, more recently, Facebook
 6
     has allowed the Uvalde Texas Elementary shooter to post he will
 7

 8 shoot his grandmother, to post he just shot his grandmother and
 9 then to post he is going to shoot up the Elementary School where

10 he proceeded to kill 19 students and 2 teachers.           Facebook has
1 1 even allowed people to live stream murdering others on their

12
     website including Steve Stephens murdering Robert Godwin Sr in
13
     Cleveland Ohio and in 2017 allowed a torture of a man with special
14
     needs to be livestreamed on Facebook in Chicago.         Facebook has an
15
     obligation to remove threats towards Lloyd on its site making the
16

17 site safe.     Defendants violate their own contract with Lloyd by

18 failing to do so.      Their own contract states that users will feel

19 safe on its site.      No Facebook user has Freedom of Speech in their
20 comments towards Lloyd as Lloyd is a private citizen so the First
21
     Amendment does not apply. Zuckerberg is the alter ego as CEO of
22
     Facebook so he is personally liable for orchestrating this attack
23
     towards Lloyd on Facebook.
24
     40.   As a direct result Lloyd is a victim of harassment and
25

26 threats to murder her due to Defendants reckless behavior.            This

27 has led Lloyd to fear for her safety for 5 plus years.

28   Therefore, Lloyd should be awarded damages for this claim
                                         - 24 -
       Case 3:21-cv-10075-EMC Document 16 Filed 05/31/22 Page 25 of 28




 l   VII.    NEGLIGENCE AND NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 2          Lloyd repeats all of the above and includes but not limited
 3 to the following:

 4
     41. Under California Law, emotional distress damages can be
 5
     claimed by someone who is a victim of anothers wrongful act.
 6
     Serious emotional distress exists if an ordinary reasonable person
 7
     would be unable to cope with the mental stress engendered by the
 8
 9 circumstances.       The Defendant must exhibit negligent conduct and

10 the Plaintiff suffered as a result.
1 1 42.     Defendants were negligent by violating their own contract
12
     with Lloyd.    Defendants state that Facebook will be a safe place
13
     for all to use.     Instead, they have allowed over 500 people to
14
     talk about drug abuse on Facebook to the point they hallucinate,
15
     and then threaten to murder and rape Lloyd.        They also allow
16

17 organized crime activities such as the Hells Angels to have
18 organized activities on Facebook and to discuss their meetings on
19 facebook.       This same group has threatened to murder Lloyd.
20 Lloyd fears for her safety, has had severe emotional distress to
21
     the point she is undergoing counseling and will never be the same
22
     again as a direct result of the Defendants allowing 500 people and
23
     counting to threaten to rape and murder Lloyd.        Any reasonable
24
     person would fear for their safety as a result of the Defendants
25

26 negligence. Defendants owed a duty to Lloyd and Lloyd pled enough
27 facts to establish that duty.       Furthermore, under the law,
28 everybody has a duty not to harm anybody else.          Lloyds emotional
                                        - 25 -
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 1 distress arose out of Defendants negligence and their breach of

 2 their own contract and a breach of their own duty.                       Defendants
 3 conduct put Lloyd at risk of physical harm as they allow over 500
 4
     people on their site to threaten to murder and rape Lloyd.                      Lloyd
 5
     has reported these posts via Facebook itself and via certified
 6
     mail to Facebook.    Facebook allows these people to threaten Lloyd
 7
     for their own financial gain as they would lose money by banning
 8
 9 these people from ther website as they make money off of Lloyds

10 abusers by selling ads through their tracking of their users

ll   activities.
12
     Therefore Lloyd should be entitled to damages for this claim
13
14   JURY TRAIL DEMAND

15        Lloyd demands a jury trail for all causes of actions
16
     ARTICLE III COURT DEMAND
17

18        Lloyd declines a magistrate and requests this case be in an

19 Article III court at all times.

20
     DEMAND
21
       1. Permanent ban and/or deletion of any any all posts in
22

23        regards to Lloyd made by Joshua Thornsebry and any and all of

24        his Facebook friends who have bullied, harassed, and

25        threatened Lloyd.
26     2. Compensatory damages well in excess of 100, 000.00 including
27
          lawyers fees, actual damages, punitive damages
28
       3. Force Defendants to make their websites ADA compliant
                                     - 26 -
                      INSERT DOCgMENT TITLE (e.g., MOTION TO STRIKE)            I_
                                 1- r , � �" � v. . ) -.P ) ( n ,"" f1 1.., ,1A T
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 1     4. Force Defendants to make their websites safe for all users

 2        and to use a system of real people and not computer
3         algorithms to investigate complaints.
4
       5. Force Defendants to not invade their users privacy when they
5
          are logged off of Facebook.
 6
       6. Release all information to Lloyd which Facebook has saved
 7
          under her name including a list of all the third party data
 8

 9        recipients as required under California Law.

10

11

12 I declare under penalty of perjury under the laws of the State of
13
     California that the foregoing is true and correct. Today ' s Date:
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                       J D�)';+
15
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                                                        Susan Lloyd   J��-e:,__.-- ..
                                                        929 E main St #101
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CERTI FICATE OF SERVICE



          Lloyds First Amended Complaint was served via email to

Jonathan Liu at Jonathanliu@orrick.com and Jacob Heath at

jheath@orrick.com and regular usps mail to Orrick, Herrington

and Sutcliffe at 1000 March Rd Menlo Park, CA 94025 on May 2 7,

202 2 .

                                            Susan Lloyd

                                            929 E Main St #101

                                            Mt Joy, PA 17552
